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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KATHRYN SHIBER.,
                                                  Case No: 1:21-cv-03649-ER
                      Plaintiff,                  ECF Case

       v.                                         DEFENDANT’S NOTICE OF
                                                  RENEWED MOTION FOR
CENTERVIEW PARTNERS, LLC                          SUMMARY JUDGMENT
                      Defendant.


       PLEASE TAKE NOTICE, that upon the accompanying Memorandum of Law in Support

of Defendant’s Renewed Motion for Summary Judgment, the Declaration of Hope D. Skibitsky,

executed September 9, 2024, with exhibits thereto, and Centerview’s Local Rule 56.1

Statement of Material Facts As To Which There Is No Genuine Issue To Be Tried, and

upon all prior proceedings herein, Defendant Centerview Partners LLC (“Centerview”), by its

undersigned counsel, will move this Court on a date and time to be determined by the Court, or as

soon thereafter as counsel may be heard, for an order pursuant to Rule 56(a) of the Federal

Rules of Civil Procedure granting Centerview’s Renewed Motion for partial summary judgment

and such other and further relief that the Court may deem just and proper.


       PLEASE TAKE FURTHER NOTICE that, pursuant to this Court's Scheduling Order in this

matter, ECF No. 113, opposition papers shall be served no later than October 16, 2024.
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Dated: September 9, 2024
       New York, New York

                                         QUINN EMANUEL URQUHART &
                                         SULLIVAN, LLP


                                         By: /s/ Jennifer Barrett
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